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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION


United States of America,

                     Plaintiff,                                Case No. 1:19-cr-00024-1
                                                               Case No. 1:19-cr-00024-5

                     V.                                        Judge Michael R. Barrett

Lorin Buckner, and
Dessalines Sealy,

                     Defendants.


                                    VERDICT FORM
                                    (Lorin Buckner)

      We, the jury, in respect to the charges set forth in the Indictment, do find Defendant

Lorin Buckner:

■   Not Guilty _ _ _ _ __          Guilty _ _   ✓~--           Count 1
                                                               18 U.S.C. § 1349
                                                               Conspiracy to Commit
                                                               Mail and Wire Fraud

■   Not Guilty _ _ __ __                                       Count 2
                                                               18 U.S.C. § 371
                                                               Conspiracy to Commit
                                                               Bankruptcy Fraud




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